                          NUMBER 13-23-00571-CV

                            COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI – EDINBURG
____________________________________________________________

AHMED EL SAYED,                                                             Appellant,

                                                 v.

ANNA GHALUMIAN,                                     Appellee.
____________________________________________________________

         ON APPEAL FROM THE 73RD DISTRICT COURT
                  OF BEXAR COUNTY, TEXAS
____________________________________________________________

                          MEMORANDUM OPINION

     Before Chief Justice Contreras and Justices Tijerina and Peña
               Memorandum Opinion by Justice Tijerina

      On December 4, 2023, appellant Ahmed El Sayed perfected an appeal in this

cause from the trial court’s judgment. On August 13, 2024, appellant filed an unopposed

motion to dismiss the appeal in this Court. The motion states that appellant and appellee
Anna Ghalumian have reached a settlement agreement and that the appeal is now moot.1

       This Court abated the cause on February 23, 2024. Having considered the

documents on file and the appellant’s unopposed motion to dismiss the appeal, the Court

is of the opinion that the motion should be granted. See TEX. R. APP. P. 42.1(a).

Accordingly, we reinstate the appeal, grant the motion to dismiss, and dismiss the appeal.

Costs will be taxed against appellant. See TEX. R. APP. P. 42.1(d) (“Absent agreement of

the parties, the court will tax costs against the appellant.”). Any pending motions are

dismissed as moot. Having dismissed the appeal at appellant’s request, no motion for

rehearing will be entertained.

                                                                                 JAIME TIJERINA
                                                                                 Justice

Delivered and filed on the
22nd day of August, 2024.




       1 This case is before this Court on transfer from the Fourth Court of Appeals in San Antonio, Texas

pursuant to a docket-equalization order issued by the Supreme Court of Texas. See TEX. GOV’T CODE ANN.
§ 73.001.

                                                   2
